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Attomeys for GLOBAL IT. COMMUNICATIONS, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

NOMADIX, INC. Case No.: 2:19-CV-10202-DDP (Ex)
[Hon. Dean D. Pregerson]

DEFENDANT GLOBAL LT.

VS. COMMUNICATIONS, INC’S ANSWER TO
AMENDED COMPLAINT FOR PATENT
INFRINGEMENT

Plaintiff,

SIA MIKROTIKLS; MICROCOM DEMAND FOR JURY TRIAL
TECHNOLOGIES, INC.; CREATIVE
WIRELESS, INC.; and GLOBAL IT
COMMUNICATIONS, INC.

Defendants.

 

 

Defendant, Global I.T. Communications Inc. (“GLOBAL”), hereby responds to the Amended

Complaint filed against it by Plaintiff Nomadix, Inc., as follows.
THE PARTIES

1. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 1 of the Amended Compliant and on that basis denies the same.

2. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 2 of the Amended Complaint and on that basis denies the same.
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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 

 
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3. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 3 of the Amended Complaint and on that basis denies the same

4, GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 4 of the Amended Complaint and on that basis denies the same.

5. GLOBAL admits that it is a California corporation and denies the wrong address listed
for its principal place of business, which is at 6720 Bright Ave, as opposed to 6270 Bright Ave.

JURISDICTION AND VENUE

6. GLOBAL admits to the allegations in paragraph 6 of the Amended Complaint.

7. GLOBAL admits to the allegations in paragraph 7 of the Amended Complaint.

8. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 8 of the Amended Complaint and on that basis denies the same.

9, GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 9 of the Amended Complaint and on that basis denies the same.

10. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 10 of the Amended Complaint and on that basis denies the same.

11. GLOBAL admits to the allegations in paragraph 11 of the Amended Complaint.

12. GLOBAL admits to the allegations in paragraph 12 of the Amended Complaint.

13. GLOBAL admits to the allegations in paragraph 13 of the Amended Complaint.

STATEMENT OF THE CASE
14. GLOBAL admits to the allegations in paragraph 14 of the Amended Complaint.
STATEMENT OF FACTS

15. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 15 of the Amended Complaint and on that basis denies the same.

16. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 16 of the Amended Complaint and on that basis denies the same.
. 17. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 17 of the Amended Complaint and on that basis denies the same.
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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 

 
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18. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 18 of the Amended Complaint and on that basis denies the same.

19. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 19 of the Amended Complaint and on that basis denies the same.

20. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 20 of the Amended Complaint and on that basis denies the same.

21. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 21 of the Amended Complaint and on that basis denies the same.

22. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 22 of the Amended Complaint and on that basis denies the same.

23. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 23 of the Amended Complaint and on that basis denies the same.

24. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 24 of the Amended Complaint and on that basis denies the same.

25. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 25 of the Amended Complaint and on that basis denies the same.

26. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 26 of the Amended Complaint and on that basis denies the same.

27. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 27 of the Amended Complaint and on that basis denies the same.

28. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 28 of the Amended Complaint and on that basis denies the same.

29. GLOBAL admits that it provides network consulting services and denies that it ever
provided network installations that use MicroTik products and MicroTik wireless products.

THE PARTIES-IN-SUIT

30. GLOBAL lacks sufficient information and knowledge to forma belief as to the truth of
the allegations of paragraph 30 of the Amended Complaint and on that basis denies the same.
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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 
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31. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 31 of the Amended Complaint and on that basis denies the same.

32. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 32 of the Amended Complaint and on that basis denies the same.

33. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 33 of the Amended Complaint and on that basis denies the same.

34, GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 34 of the Amended Complaint and on that basis denies the same.

35. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 35 of the Amended Complaint and on that basis denies the same.

36. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 36 of the Amended Complaint and on that basis denies the same.

COUNT 1: INFRINGEMENT OF U.S. PATENT NO. 7,194,554

37. Answering the allegations in paragraph 37, GLOBAL refers to and incorporates its
responses to the allegations contained in paragraphs 1 through 36.

38. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 38 of the Amended Complaint and on that basis denies the same.

39. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 39 of the Amended Complaint and on that basis denies the same.

40. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 40 of the Amended Complaint and on that basis denies the same.

41. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 41 of the Amended Complaint and on that basis denies the same.

42. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 42 of the Amended Complaint and on that basis denies the same.

43. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 43 of the Amended Complaint and on that basis denies the same.
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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 
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44. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 44 of the Amended Complaint and on that basis denies the same.

45. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 45 of the Amended Complaint and on that basis denies the same.

46. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 46 of the Amended Complaint and on that basis denies the same.

47. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 47 of the Amended Complaint and on that basis denies the same.

48. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 48 of the Amended Complaint and on that basis denies the same.

49. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 49 of the Amended Complaint and on that basis denies the same.

50. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 50 of the Amended Complaint and on that basis denies the same.

51. GLOBAL denies the allegations in paragraph 51 of the Amended Complaint as to
GLOBAL. GLOBAL lacks sufficient information as to the other Defendants, Microcom and Creative
Wireless, and therefore on that basis denies the allegations in paragraph 51 concerning them.

52. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 52 of the Amended Complaint and on that basis denies the same.

53. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 53 of the Amended Complaint and on that basis denies the same.

54. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 54 of the Amended Complaint and on that basis denies the same.

COUNT II: INFRINGEMENT OF U.S. PATENT NO. 6,636,894

55. Answering the allegations in paragraph 55, GLOBAL refers to and incorporates its
responses to the allegations contained in paragraphs 1 through 54.

56. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of

the allegations of paragraph 56 of the Amended Complaint and on that basis denies the same.

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DEFENDANT-GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 
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57. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 57 of the Amended Complaint and on that basis denies the same.

58. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 58 of the Amended Complaint and on that basis denies the same.

59. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 59 of the Amended Complaint and on that basis denies the same.

60. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 60 of the Amended Complaint and on that basis denies the same.

61. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 61 of the Amended Complaint and on that basis denies the same.

62. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 62 of the Amended Complaint and on that basis denies the same.

63. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 63 of the Amended Complaint and on that basis denies the same.

64. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 64 of the Amended Complaint and on that basis denies the same.

65. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 65 of the Amended Complaint and on that basis denies the same.

66. | GLOBAL denies the allegations in paragraph 66 of the Amended Complaint as to
GLOBAL. GLOBAL lacks sufficient information as to the other Defendants, Microcom and Creative
Wireless, and therefore on that basis denies the allegations in paragraph 66 concerning them.

67. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 67 of the Amended Complaint and on that basis denies the same.

68. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 68 of the Amended Complaint and on that basis denies the same.

69. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of

the allegations of paragraph 69 of the Amended Complaint and on that basis denies the same.

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DEFENDANT GLOBAL I.T. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 

 
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COUNT Ill: INFRINGEMENT OF U.S. PATENT NO. 8,156,246

70. Answering the allegations in paragraph 70, GLOBAL refers to and incorporates its
responses to the allegations contained in paragraphs 1 through 69.

71. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 71 of the Amended Complaint and on that basis denies the same.

72. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 72 of the Amended Complaint and on that basis denies the same.

73. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 73 of the Amended Complaint and on that basis denies the same.

74. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 74 of the Amended Complaint and on that basis denies the same.

75. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 75 of the Amended Complaint and on that basis denies the same.

76. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 76 of the Amended Complaint and on that basis denies the same.

77. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 77 of the Amended Complaint and on that basis denies the same.

78. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 78 of the Amended Complaint and on that basis denies the same.

79. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 79 of the Amended Complaint and on that basis denies the same.

80. GLOBAL denies the allegations in paragraph 80 of the Amended Complaint as to
GLOBAL. GLOBAL lacks sufficient information as to the other Defendants, Microcom and Creative
Wireless, and therefore on that basis denies the allegations in paragraph 80 concerning them.

81. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 81 of the Amended Complaint and on that basis denies the same.

82. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of

the allegations of paragraph 82 of the Amended Complaint and on that basis denies the same.

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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 

 
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83. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of

the allegations of paragraph 83 of the Amended Complaint and on that basis denies the same.
COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,554.99

84, Answering the allegations in paragraph 84, GLOBAL refers to and incorporates its
responses to the allegations contained in paragraphs 1 through 83.

85. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 85 of the Amended Complaint and on that basis denies the same.

86. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 86 of the Amended Complaint and on that basis denies the same.

87. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 87 of the Amended Complaint and on that basis denies the same.

88. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 88 of the Amended Complaint and on that basis denies the same.

89. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 89 of the Amended Complaint and on that basis denies the same.

90. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 90 of the Amended Complaint and on that basis denies the same.

91. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 91 of the Amended Complaint and on that basis denies the same.

92. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 92 of the Amended Complaint and on that basis denies the same.

93. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 93 of the Amended Complaint and on that basis denies the same.

94. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 94 of the Amended Complaint and on that basis denies the same.

95. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 95 of the Amended Complaint and on that basis denies the same.
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DEFENDANT GLOBAL I.T. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 

 
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96. | GLOBAL denies the allegations in paragraph 96 of the Amended Complaint as to
GLOBAL. GLOBAL lacks sufficient information as to the other Defendants, Microcom and Creative
Wireless, and therefore on that basis denies the allegations in paragraph 96 concerning them.

97. | GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 97 of the Amended Complaint and on that basis denies the same.

98. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 98 of the Amended Complaint and on that basis denies the same.

99. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 99 of the Amended Complaint and on that basis denies the same.

COUNT V: INFRINGEMENT OF U.S. PATENT NO. 7,088,727

100. Answering the allegations in paragraph 100, GLOBAL refers to and incorporates its
responses to the allegations contained in paragraphs 1 through 99.

101. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 101 of the Amended Complaint and on that basis denies the same.

102. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 102 of the Amended Complaint and on that basis denies the same.

103. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 103 of the Amended Complaint and on that basis denies the same.

104. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 104 of the Amended Complaint and on that basis denies the same.

105. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 105 of the Amended Complaint and on that basis denies the same.

106. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 106 of the Amended Complaint and on that basis denies the same.

107. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 107 of the Amended Complaint and on that basis denies the same.

108. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of

the allegations of paragraph 108 of the Amended Complaint and on that basis denies the same.

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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 
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109. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 109 of the Amended Complaint and on that basis denies the same.

110. GLOBAL denies the allegations in paragraph 110 of the Amended Complaint as to
GLOBAL. GLOBAL lacks sufficient information as to the other Defendants, Microcom and Creative
Wireless, and therefore on that basis denies the allegations in paragraph 110 concerning them.

111. GLOBAL lacks sufficient information and knowledge to form a belief as to the truth of
the allegations of paragraph 111 of the Amended Complaint and on that basis denies the same.

112. GLOBAL lacks sufficient information and knowledge as to the other Defendants, and
therefore denies the same. GLOBAL denies all of the allegations in paragraph 112 as to itself directly
and as to Plaintiffs claims of harm, injury, and damages.

113. GLOBAL denies all of the allegations in paragraph 113 of the Amended Complaint
against it.

DENIAL OF PLAINTIFF’S PRAYER FOR RELIEF

114. GLOBAL denies that Plaintiff, Nomadix, Inc., is entitled to any of the relief it seeks
against Global I.T. Communications, Inc. in this lawsuit. GLOBAL has not infringed upon any of the
patents alleged in this lawsuit, having never utilized any of the products alleged in this lawsuit for any
purpose. Nomadix, Inc. is, thus, not entitled to statutory damages, compensatory damages, enhanced
damages, injunctive relief, a finding of an exceptional case in Plaintiff's favor, attorneys fees, costs,
interest, or any other type of relief against GLOBAL.

AFFIRMATIVE DEFENSES

115. GLOBAL asserts the following as separate, distinct and non-exclusive affirmative

defenses. In asserting these defenses, GLOBAL does not thereby assume the burden of proof.
FIRST DEFENSE
(FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED)

116. Plaintiffs claims fail to state sufficiently how GLOBAL infringed and cannot so state
with merit as GLOBAL never used the allegedly infringed upon products.
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DEFENDANT GLOBAL I.T, COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 
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SECOND DEFENSE
(NON-INFRINGEMENT OF PATENTS IN SUIT)
117. GLOBAL has not, directly or indirectly, contributorily or through inducement infringed
upon any patent in suit, either literally or under the doctrine of equivalents
THIRD DEFENSE
(NO WILLFUL INFRINGEMENT)
118. GLOBAL has not willfully infringed any claims of the patents involved in this suit.
FOURTH DEFENSE
(RESERVATION OF RIGHTS)

119. GLOBAL asserts the above defenses based on its present knowledge, which is based on
limited investigation and an absence of discovery, which has yet to begin in this matter. GLOBAL’s
investigation of its defenses is continuing and GLOBAL reserves the right to supplement or amend its
Answer and these defenses.

RESERVATION OF RIGHTS

120. GLOBAL reserves the right to add any additional defenses and/or counterclaims that
discovery may reveal.

WHEREFORE, Defendant, Global I.T. Communications, Inc., prays for judgment as follows:

1. That Plaintiffs Amended Complaint for Patent Infringement be dismissed with prejudice
and the Plaintiff take nothing thereunder;

2. An order and judgment declaring that GLOBAL did not infringe any claim of the patents
that are asserted by Plaintiff in this action, under any theory;

3, An order that Plaintiff take nothing by the Amended Complaint, that no injunctive relief
shall issue in favor of Plaintiff, and that the Amended Complaint be dismissed with prejudice;

4, An order that no costs, expenses, attorneys’ fees, or other relief shall be rewarded to
Plaintiff;

5. An order declaring this case exceptional pursuant to 35 U.S.C. § 285 and awarding
attorneys’ fees to GLOBAL;

6. An order that costs and expenses shall be awarded to GLOBAL; and

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DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 

 
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Complaint for patent infringement; and

on all issues triable of right by a jury.

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7. For costs and disbursements necessarily incurred in defending Plaintiff's Amended

8. For such further relief as the Court may deem just and proper.
DEMAND FOR JURY TRIAL
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, GLOBAL demands a trial by jury

SKAPIK LAW GROUP

Dated: June 24, 2020 By: Ww WW

Mark J. Skapik

Geralyn L. Skapik

Blair J. Berkley

Attorneys for Defendant
GLOBAL IT
COMMUNICATIONS, INC.

DEFENDANT GLOBAL LT. COMMUNICATIONS, INC.’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

 
